 Case 1:25-bk-10270 Doc 35-2 Filed 05/06/25 Entered 05/06/25 11:43:11                       Desc
               Exhibit Notice of Default - March 7 2025 Page 1 of 4




                                                                                 Daniel E. Burgoyne
                                                                                    (401) 861-8254
                                                                              dburgoyne@psh.com



                                                   March 7, 2025

VIA FEDERAL EXPRESS
AND ELECTRONIC MAIL

Tallulah’s Taqueria, LLC
146 Ives Street
Providence, RI 02906
Attn: Kelly Ann Rojas
kellyann@tallulahstagueria.com

       RE:       Suite #109 (the “Premises”) within the Farm Fresh Food Hub, 10 Sims Avenue,
                 Providence, Rhode Island, 02909 (the “Building”);
                 Lease dated March 1, 2021 (the “Lease”) by and between Tallulah's
                 Taqueria, LLC (“Tenant”) and Farm Fresh Rhode Island (“Landlord”)

                                    NOTICE OF DEFAULT

Dear Ms. Rojas:

       This office represents the Landlord with respect to the Premises occupied by Tenant under
the Lease dated March 1, 2021. This letter constitutes Landlord’s Notice of Default and demand
for payment.

       As of this date, Tenant has failed to pay sums owed to the Landlord under the lease,
including base rent and utilities, as follows:

             •    $4,848.91 representing a portion of the rent owed for December 2023.
             •    $125,480.83 representing unpaid rent in the amount of $7,232.00 per month for
                  the months of January 2024 through February 2025, and unpaid utilities for the
                  months of November 2023 through January 2025.

These amounts are set forth in greater detail in the attached statement.

      Accordingly, demand is now made that Tenant remit payment to Landlord in the total
amount of $130,329.74, no later than March 17, 2025.

        If Tenant fails to pay the amount due in a timely manner, Landlord will seek all remedies
available to it under the Lease, which will include termination of the Lease pursuant to Section 20,
a civil action to recover possession of the premises, and an action for money damages. In that
event, Landlord will seek to recover all damages that it has incurred due to the Tenant’s defaults
 Case 1:25-bk-10270 Doc 35-2 Filed 05/06/25 Entered 05/06/25 11:43:11                      Desc
               Exhibit Notice of Default - March 7 2025 Page 2 of 4


Tallulah’s Taqueria, LLC
March 7, 2025
Page 2



including base rent, utilities, interest, costs of collection including attorney’s fees, and costs
associated with reletting, all as provided in Section 20.2 of the Lease.


                                                  Sincerely,

                                                  PARTRIDGE SNOW & HAHN LLP


                                                  /s/ Daniel E. Burgoyne

DEB/klf
Enclosure

cc:      John E. Scholhamer, Esq., 1481 Wampanoag Trail, East Providence, RI 02915
         (via first-class mail)
         Jesse Rye, Executive Director, Farm Fresh Rhode Island (via e-mail only)


4901-6381-9557
       Case 1:25-bk-10270 Doc 35-2 Filed 05/06/25 Entered 05/06/25 11:43:11                           Desc
                     Exhibit Notice of Default - March 7 2025 Page 3 of 4

                                            Farm Fresh Rhode Island
                                        Invoices and Received Payments
                                           September 1, 2023 - March 7, 2025



                                  Date        Transaction Type       Memo/Description        Num      Amount
Tallulah's Taqueria, LLC   10/01/2023         Invoice            October 23 Rent          18926        7,232.00
                           09/08/2023         Payment                                     ACH090823    1,808.00
                           09/21/2023         Payment                                     ACH092123    1,808.00
                           10/05/2023         Payment                                     ACH100523    1,808.00
                           10/16/2023         Payment                                     ACH101623    1,808.00
                                              Total Paid                                               7,232.00


                           07/27/2023         Invoice            July 23 Utilities        18360        2,196.01
                           10/15/2023         Payment                                     ACH101523    2,196.01
                                              Total Paid                                               2,196.01


                           08/31/2023         Invoice            August 23 Utilities      18857        1,101.20
                           10/27/2023         Payment                                     ACH102723    1,101.20
                                              Total Paid                                               1,101.20


                           11/01/2023         Invoice            November 23 Rent         19855        7,232.00
                           11/03/2023         Payment                                     ACH110323    1,808.00
                           02/12/2024         Payment                                     1318           373.05
                           02/16/2024         Payment                                     1341           500.00
                           02/27/2024         Payment                                     1355           500.00
                           03/01/2024         Payment                                     1364           500.00
                           03/18/2024         Payment                                     1411           500.00
                           04/12/2024         Payment                                     1423           500.00
                           04/26/2024         Payment                                     1513           500.00
                           05/03/2024         Payment                                     1538           500.00
                           05/14/2024         Payment                                     1558           500.00
                           05/24/2024         Payment                                     1583           500.00
                           05/24/2024         Payment                                     1594           500.00
                           05/31/2024         Payment                                     1611            50.95
                                              Total Paid                                               7,232.00



                           09/29/2023         Invoice            September 23 Utiltiies   19436        1,126.95
                           01/19/2024         Payment                                     1291           500.00
                           01/30/2024         Payment                                     1297           500.00
                           02/12/2024         Payment                                     1318           126.95
                                              Total Paid                                               1,126.95


                           10/31/2023         Invoice            October 23 Utilities     20036        1,065.96
                           05/31/2024         Payment                                     1611           449.05
                           06/13/2024         Payment                                     1650           616.91
                                              Total Paid                                               1,065.96
Case 1:25-bk-10270 Doc 35-2 Filed 05/06/25 Entered 05/06/25 11:43:11            Desc
              Exhibit Notice of Default - March 7 2025 Page 4 of 4


             12/01/2023    Invoice              December 23 Rent        20500     7,232.00
             06/13/2024    Payment                                      1650       133.09
             06/18/2024    Payment                                      1651       750.00
             06/25/2024    Payment                                      1674       750.00
             06/28/2024    Payment                                      1675       750.00
                           Total Paid                                             2,383.09
                           Balance Due                                            4,848.91


             11/30/2023    Invoice              November 23 Utilities   20573     1,032.64
             12/31/2023    Invoice              December 23 Utilities   21330     1,187.91
             1/1/2024      Invoice              January Rent            21109     7,232.00
             1/31/2024     Invoice              January Utilities       21602     1,049.56
             2/1/2024      Invoice              February Rent           21536     7,232.00
             2/29/2024     Invoice              February Utilities      22155     1,305.50
             3/1/2024      Invoice              March Rent              22026     7,232.00
             3/31/2024     Invoice              March Utilities         22543     1,225.24
             4/1/2024      Invoice              April Rent              22422     7,232.00
             4/30/2024     Invoice              April Utilities         23031     1,190.07
             5/1/2024      Invoice              May Rent                22853     7,232.00
             5/31/2024     Invoice              May Utilities           23544     1,226.45
             6/1/2024      Invoice              June Rent               23431     7,232.00
             6/30/2024     Invoice              June Utilities          24023     1,143.58
             7/1/2024      Invoice              July Rent               23920     7,232.00
             7/31/2024     Invoice              July Utilities          24332      882.38
             8/1/2024      Invoice              August Rent             24301     7,232.00
             8/31/2024     Invoice              August Utilities        24789      868.07
             9/1/2024      Invoice              September Rent          24723     7,232.00
             9/30/2024     Invoice              September Utilities     25408      927.53
             10/1/2024     Invoice              October Rent            25198     7,232.00
             10/31/2024    Invoice              October Utilities       25956      901.32
             11/1/2024     Invoice              November Rent           25859     7,232.00
             11/30/2024    Invoice              November Utilities      26671      913.44
             12/1/2024     Invoice              December Rent           26456     7,232.00
             12/31/2024    Invoice              December Utilities      27345      882.08
             1/1/2025      Invoice              January Rent            27007     7,232.00
             1/31/2025     Invoice              January Utilities       27718      920.42
             2/1/2025      Invoice              February Rent           27717     7,232.00
             2/28/2025     Invoice              February Utilities      28109      918.64
             3/1/2025      Invoice              March Rent              27953     7,658.00


             Total Due                                                          130,329.74




                                     7-Mar-25
